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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Plaintiff, Civil Action No. 1:04-cv-00798-PLF/GMH

ALL ASSETS HELD AT BANK JULIUS
BAER & COMPANY, LTD., GUERNSEY
BRANCH, ACCOUNT NUMBER 121128,
IN THE NAME OF PAVLO
LAZARENKO, LAST VALUED AT
APPROXIMATELY $2 MILLION IN
UNITED STATES DOLLARS, ETAL.,

Defendants.

VVVVVVVVVVVVVVVVV

 

PARTIAL WITHDRAWAL OF CLAIM

TO: THE CLERK, UNITED STATES DISTRICT COURT, DISTRICT OF
COLUMBIA

PAVEL LAZARENKO (aka Pavlo Lazarenko, Pavlo Ivanovich Lazarenko) hereby
withdraws his claim in account number 0153633 AB, in the name of Tanas AG, held at the LGT
Bank in Liechtenstein. The account was last valued at $369.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this ‘_2_ day of April 2019, in l’\cwig , Califomia.

 

PAVEL/LAZAFRENKO

143753.00601/1051lSlllv.l ,

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CERTIFICATE OF SERVICE

I hereby certify that on April 2, 2019, I electronically filed the foregoing document with
the clerk of the court for the U.S. District Court for the District of Columbia, using thc electronic
case filing system of the court. The electronic case filing system sent a “Notice of Electronic
Filing” to the attorneys of record who have consented in writing to accept this Notice as service
of this document by electronic means. l also certify that parties not so noticed have been served

in accordance with Fed. R. Civ. P. S(d).

/s/ Jed M. Silversmith

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